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5

6                                IN THE UNITED STATES DISTRICT COURT

7                          FOR THE EASTERN DISTRICT OF CALIFORNIA

8
                                                     )   Case No.: 2:10 CR 0162 JAM
9    UNITED STATES OF AMERICA,                       )
                                                     )
10                  Plaintiff,                       )   STIPULATION REGARDING
                                                     )   EXCLUDABLE TIME PERIODS UNDER
11          vs.                                      )   SPEEDY TRIAL ACT FINDINGS AND
                                                     )   ORDER
12   DAVID HERNANDEZ,                                )
                                                     )
13                  Defendant                        )
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15
            Plaintiff, United States of America, by and through its counsel of record, and the
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     defendant DAVID HERNANDEZ, by and through his counsel of record, hereby stipulate as
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18   follows:

19          1.      By previous order, this matter was set for status on July 9, 2013.

20          2.      By this stipulation, the defendants now move to continue the status conference

21   until August 20, 2013 at 9:45 a.m., and to exclude time between July 9, 2013 and August 20,
22   2013 under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      Counsel for the defendant desire additional time to consult with his client
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     regarding a resolution to this case.



                                   STIP AND ORDER TO EXTEND TIME - 1
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            b.      Counsel for the defendant believe that failure to grant the above-requested
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     continuance would deny them the reasonable time necessary for effective preparation, taking into
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3    account the exercise of due diligence.

4           c.      The government does not object to the continuance.

5           d.      Based on the above-stated findings, the ends of justice served by continuing the

6    case as requested outweigh the interest of the public and the defendants in a trial within the
7    original date prescribed by the Speedy Trial Act.
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            e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
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     et seq., within which trial must commence, the time period of July 9, 2013, to August 20, 2013,
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     at 9:45 a.m. inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local
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     Code T4] because it results from a continuance granted by the Court at defendant’s request on
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     the basis of the Court's finding that the ends of justice served by taking such action outweigh the
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     best interest of the public and the defendants in a speedy trial.
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                    4.      Nothing in this stipulation and order shall preclude a finding that other
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16   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

17   period within which a trial must commence.

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     Respectfully submitted,
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     Date: 7-8-13                                           By: /s/ Danny D. Brace, Jr.,
23                                                                 DANNY D. BRACE, JR.,
                                                                   Attorney for
24                                                                 DAVID HERNENDEZ
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                                  STIP AND ORDER TO EXTEND TIME - 2
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     Date: 7-8-13                                     By:/s/ Michael McCoy
1                                                     Authorized to sign for Mr. McCoy
                                                      On July 8, 2013
2
                                                      Michael McCoy
3                                                     Assistant U.S. Attorney

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5    IT IS SO ORDERED:

6    Dated: 7/8/2013
7    /s/ John A. Mendez________
     HON. JOHN A. MENDEZ
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                             STIP AND ORDER TO EXTEND TIME - 3
